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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                                :    Civil No. 1:17-cv-60
     UNITED STATES OF AMERICA                   :
     ex rel. WILLIAM “BILL” SMITH,              :
                     Plaintiff,                 :
                                                :
                  v.                            :
                                                :
                                                :
     ATHENA CONSTRUCTION                        :
     GROUP, INC.,                               :
                  Defendant.                    :     Judge Sylvia H. Rambo

                                   MEMORANDUM

           Plaintiff William “Bill” Smith (“Relator”) brings this qui tam action on

     behalf of the United States pursuant to the False Claims Act (“FCA”), 31 U.S.C.

     §§ 3729-3732, against Athena Construction Group, Inc. (“Defendant”). Presently

     before the court is Defendant’s motion to dismiss pursuant to Federal Rules of

     Civil Procedure 12(b)(2), (3) and (6). (Doc. 17.) For the reasons that follow, the

     court will deny Defendant’s motion, but will transfer venue in the interest of

     justice to the United States District Court for the District of Columbia.

I.         Factual Background and Procedural History

           The following facts are taken from Relator’s amended complaint and are

     taken as true for purposes of this motion to dismiss. Defendant is a general

     construction contractor located in northern Virginia that regularly contracts with

     the federal government for construction projects throughout the Mid-Atlantic and

     Southern regions of the United States. (Doc. 15, ¶¶ 3, 8, 27.) In bidding for and
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entering into contracts with the federal government, Defendant has availed itself of

federal Small Business Administration (“SBA”) programs that seek to encourage

the use of small businesses, service-disabled-veteran-owned businesses, and

women and minority-owned businesses. (Id. at ¶¶ 2, 9.) Through the various SBA

programs, the federal government reserves a portion of certain contracts, typically

those with a value between $3,000 and $150,000, for businesses that have been

certified under one or more of the SBA programs. (Id. at ¶ 45.) In order to be

considered eligible for participation in SBA programs, Defendant was required to

apply for and receive certification that it qualifies under the 8(a) Business

Development Program (“8(a) BDO”), 1 the Historically Underutilized Business

Zone Program (“HUBZone”),2 the Service-Disabled-Veteran-Owned Small

Business Concern Program (“SDVO”), and the Women-Owned Small Business

Federal Contracting Program (“WOB”). 3 (Id. at ¶ 46.) From 2010 to 2016,

Defendant received approximately $22,000,000 in SBA program contracts related

to its HUBZone and 8(a) BDO certifications. (Id. at ¶ 4.)


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  In short, the 8(a) BDO program requires that a company demonstrate that it is (1) owned by an
American citizen; (2) majority-owned by a “socially and economically disadvantaged
individual(s)”; and (3) is a small business. Black, Hispanic, Native, Asian-Pacific, and
Subcontinent Asian Americans are presumed to be “socially and economically disadvantaged
individuals,” but other individuals may qualify on a case-by-case basis.
2
   HUBZone certification is based on the location of the business in inner cities or rural
communities that traditionally have low household incomes, high unemployment, or low
community investment.
3
  SDVO and WOB certifications essentially require that a small business be majority-owned by
service-disabled veterans or women, respectively.
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        Relator is a Maryland resident who previously worked for Defendant as a

Director of Operations from approximately 2007 to 2012. (Doc. 15, ¶¶ 7, 105,

117.)    Relator avers that he discovered numerous individuals on Defendant’s

“roster” of employees that he had never met or seen at a worksite. (Id. at ¶ 105.)

When he inquired as to the identities of these employees, he was told that they

were on the roster in order to satisfy the requirements of various SBA certifications

held by Defendant.       (Id. at ¶¶ 106-107.)    Relator also avers that Defendant

unlawfully subcontracted SBA contracts, in violation of SBA requirements. (Id. at

108-110.)     On January 10, 2017, Relator reported the alleged violations and

falsifications to the Attorney General of the United States via sealed complaint.

(Id. at 117.) Relator avers that, in an attempt to intimidate him into withdrawing

the complaint, Defendant filed a lawsuit in the Circuit Court for the County of

Prince William in Virginia, seeking over $106,000 in damages for a breach of the

severance agreement between Relator and Defendant.                  (Id. at 122-23.)

Specifically, Defendant alleged in the Virginia state court action that Relator

violated the severance agreement by filing the complaint because the allegations

therein constituted “derogatory remarks” against Defendant. (Id. at ¶ 123.)

        Relator filed the instant action on January 10, 2017, alleging, inter alia, qui

tam claims under the FCA on behalf of the United States for Defendant’s allegedly

fraudulent statements made in order to receive various SBA certifications. (Doc.


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      1.) The United States filed a notice of its decision not to intervene on September

      6, 2017. (Doc. 8.) Defendant filed a motion to dismiss on November 1, 2017, and

      Relator filed an amended complaint on November 21, 2017. (Docs. 11, 15.)

      Relator’s amended complaint included only his FCA claim and the claim for

      retaliation based on Defendant’s filing of the Virginia state court claim against

      him. (Doc. 15.) Defendant filed the instant motion to dismiss on December 5,

      2017, arguing that this court lacks personal jurisdiction, that the Middle District of

      Pennsylvania is an improper venue, and that Relator has failed to state a claim

      upon which relief may be granted or has failed to plead its fraud claim with

      sufficient specificity. (Doc. 17.) Defendant’s motion to dismiss has been fully

      briefed and is ripe for disposition. For the reasons discussed below, Defendant’s

      motion will be denied, but venue shall be transferred in the interest of justice and

      for the convenience of the parties.

II.         Discussion

            In its motion to dismiss, Defendant seeks dismissal of Relator’s amended

      complaint for lack of personal jurisdiction pursuant to Federal Rule of Civil

      Procedure 12(b)(2), improper venue under Rule 12(b)(3), and failure to state a

      claim upon which relief can be granted under Rule 12(b)(6). Defendant also

      requests, in the alternative, that Relator’s amended complaint be dismissed without

      prejudice for failure to plead fraud with sufficient particularity under Rule 9(b).


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      A.            Personal Jurisdiction

      Defendant argues that this court lacks personal jurisdiction to hear Relator’s

claims because Relator has failed to plead sufficient facts to establish the requisite

minimum contacts with Pennsylvania under International Shoe Co. v. Washington,

326 U.S. 310 (1945). The Due Process Clause of the Fifth Amendment requires

that individuals only be required to appear in a court if they have voluntarily

associated themselves with the territory in which the court sits. Heft v. AAI Corp.,

355 F. Supp. 2d 757, 765 (M.D. Pa. 2005) (citing Burger King v. Rudzewicz, 471

U.S. 462, 474 (1985)). Courts apply the minimum contacts analysis to determine

if a defendant had sufficient contacts with the forum to satisfy due process

concerns. Id. If the court is satisfied that the defendant had the requisite minimum

contacts with the forum, the court must next determine if the “assertion of

jurisdiction comports with ‘traditional notions of fair play and substantial justice.’”

Id. (quoting Int’l Shoe Co., 326 U.S. at 316.) Indeed, Relator’s contacts with the

forum state are tenuous, even viewing the complaint in the light most favorable to

the plaintiff.   Were this court sitting in diversity, the Defendant’s limited

association with Pennsylvania may compel dismissal. See RP Healthcare, Inc. v.

Pfizer, Inc., No. 12-cv-5129, 2017 WL 4330358, *5 (D. N.J. Sept. 29, 2017), aff’d

sub nom. In re Lipitor Antitrust Litig., 722 F. App’x 132 (3d Cir. 2018) (citing

World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 292 (1980)). The FCA,


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however, is a statue that authorizes nationwide service of process. 31 U.S.C. §

3732.    Thus, the court’s inquiry does not rest on an analysis of Defendant’s

contacts with the Commonwealth of Pennsylvania alone.

        In determining personal jurisdiction in an action arising under a statute

authorizing nationwide service of process, the Third Circuit has held that:

        [W]here Congress has spoken by authorizing nationwide service of
        process[], as it has in the Securities Act, the jurisdiction of a federal
        court need not be confined by the defendant’s contacts with the state
        in which the federal court sits. See DeJames v. Magnificence
        Carriers, Inc., 654 F.2d 280, 284 (3d Cir. 1981). Following this
        reasoning, the district courts within this Circuit have repeatedly held
        that a “national contacts analysis” is appropriate “when appraising
        personal jurisdiction in a case arising under a federal statute that
        contains a nationwide service of process provision.” AlliedSignal,
        Inc. v. Blue Cross of Calif., 924 F. Supp. 34, 36 (D. N.J. 1996); see
        also Green v. William Mason & Co., 996 F. Supp. 394, 396 (D. N.J.
        1998) (“[A]n assessment of personal jurisdiction under [a statutory
        provision authorizing nationwide service of process] necessitates an
        inquiry into the defendant’s contacts with the national forum.”). We
        too are persuaded by the reasoning of our prior opinions on the
        subject, and, consistent with several of our sister courts of appeals,
        hold that a federal court’s personal jurisdiction may be assessed on the
        basis of the defendant’s national contacts when the plaintiff’s claim
        rests on a federal statute authorizing nationwide service of process.
Pinker v. Roche Holdings Ltd., 292 F.3d 361, 369 (3d Cir. 2002). “It necessarily

follows that the ‘forum’ of the federal courts is the entire territory of the United

States. Regardless of their location, federal courts are components of the national

government, and exercise a portion of its sovereign powers.” Heft, 355 F. Supp.2d

at 765 (citing Max Daetwyler Corp. v. Meyer, 762 F.2d 290, 293-95 (3d Cir.


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1985)). Moreover, where a defendant “resides within the territorial boundaries of

the United States,” that defendant “has sufficient minimum contacts with the

United States that the [c]ourt’s exercise of personal jurisdiction does not offend

traditional notions of fair play and substantial justice.” Hericks v. Lincare Inc.,

No. 07-cv-387, 2014 WL 1225660, *1 n.2 (E.D. Pa. Mar. 25, 2014) (citing U.S. v.

Metzinger, No. 94-cv-7520, 1996 WL 412811, *2 n.3 (E.D. Pa. July 18, 1996);

U.S. v. Torkelsen, No. 06-cv-5674, 2007 WL 4245736, *3 (E.D. Pa. Dec. 3,

2007)). Because it is undisputed that Defendant, a Virginia-based company doing

business in the United States, has minimum contacts with the United States, this

court has personal jurisdiction over Defendant under the FCA.

       B.             Venue

       The language of the FCA expressly defines the proper venue for a claim

brought for a violation of its terms. Section 3732(a) provides that: “[a]ny action

under section 3730 may be brought in any judicial district in which the defendant

. . . can be found, resides, transacts business, or in which any act proscribed by

section 3729 occurred.” 31 U.S.C. § 3732.4 Thus, a company situated in the

United States may be haled into any federal court in any state where that company


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  Several courts have noted that Section 3732(a) operates as a venue provision, despite the word
“jurisdiction” in its title. U.S. ex rel. Thistlethwaite v. Dowty Woodville Polymer, Ltd., 110 F.3d
861, 868 (2d Cir. 1997) (comparing 31 U.S.C. § 3732(a) with Section 12 of the Clayton Act, 15
U.S.C § 22, and Section 27 of the Securities Exchange Act of 1934, 15 U.S.C. § 78aa); see also
U.S. v. Universal Fruits & Vegetables Corp., 370 F.3d 829, 836 (9th Cir. 2004); U.S. v.
Universal Fruits & Vegetables Corp., 29 C.I.T. 673, 679 (2005).
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transacts business or has allegedly violated the FCA. The proscriptions in Section

3729 include false claims made to receive payments from the federal government

or to receive an award of a federal contract, as alleged in the complaint. See 31

U.S.C. § 3729. The narrow question before this court in regards to venue is

whether Defendant transacts business in Pennsylvania or whether it has violated

the FCA within the bounds of the Commonwealth.

      Relator essentially relies on three alleged facts which provide a connection

to Pennsylvania: (1) Defendant has bid on contracts involving Pennsylvania; (2)

two government contracts situated in Pennsylvania have been awarded to

Defendant; and (3) Defendant challenged the award of a contract to a

Pennsylvania-based company.      (Doc. 15, ¶ 20.)    The first contention is not

supported by any particular allegations in the complaint. Relator does no more

than generally allege that Defendant advertises that it is willing to do work in

Pennsylvania on its website, even though it has no current contracts or offices in

the state. (Id. at ¶¶ 24-27.) It is not clear from the complaint, however, that

Defendant currently transacts business into Pennsylvania.        It appears that

Defendant’s bidding and advertising are with federal agencies located in

Washington, D.C., which contract for federal projects across the country.

Similarly, the third contention raised by Relator does not imply contact with

Pennsylvania. Relator alleges no interaction within the Commonwealth, or any


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contact with the Pennsylvania company itself. Merely referring to a Pennsylvania

company that is not a party to the litigation in an administrative action is

insufficient to support Relator’s assertion that Defendant “transacts” business

within the forum. See Heft, 355 F. Supp. 2d at 767 (citing Hanson v. Denckla, 357

U.S. 235, 254 (1958) (“The unilateral activity of those who claim some

relationship with a nonresident defendant cannot satisfy the requirement of contact

with the forum State.”). With regard to Relator’s second contention, only one

contract in Pennsylvania is relevant to the case sub judice. One of the contracts

actually awarded to, and the only one actually carried out by, Defendant in

Pennsylvania was awarded prior to the fraud alleged in the complaint. (Compare

Doc. 15, ¶ 21 (“in 2009, [Defendant] was awarded contract V529Q00129 relating

to work in Butler, Pennsylvania.”), with ¶ 4 (“As a result of Defendant[‘s] fraud,

from 2010 to 2016, [Defendant] received over $22 million dollars [sic] in [SBA]

set-aside contracts.”).)   Defendant’s only contact with Pennsylvania related to

Relator’s FCA claim is a contract, valued at $42,648, for work in Liberty

Township, Pennsylvania. (Id. at ¶¶ 22, 80(x).) The Liberty Township contract was

awarded on December 11, 2015, pursuant to a HUBZone set-aside. (Id. at 80.) An

affidavit filed by Amber Peebles, a part-owner of Defendant, indicates that the

Liberty Township contract was not carried out, but was cancelled prior to work

starting on the project. (Doc. 17, Ex. 1.) Thus, Relator bases its choice of venue


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on $42,648 out of an alleged $22,000,000 of fraudulently obtained government

contracts, or, put another way, two-tenths of a percent (.2%) of the unlawful

business alleged in the complaint.

      Despite the limited contact with Pennsylvania related to Relator’s claims, it

appears that any act related to the alleged fraudulent conduct is sufficient to

establish venue in Pennsylvania: “[a]ny action under section 3730 may be brought

in any judicial district . . . in which any act proscribed by section 3729 occurred.”

31 U.S.C. § 3732(a) (emphasis added). Taking the allegations in the complaint as

true, this contract was obtained pursuant to a HUBZone set-aside while Defendant

was providing false information in order to qualify for the program. Arguably,

because this contract was never commenced, there were no actual “acts” within

Pennsylvania because bidding and subsequent negotiations likely occurred in

Washington, D.C. or northern Virginia. However, when “considering a motion to

dismiss for improper venue, the court must generally accept as true the allegations

in the pleadings and must view the facts in the light most favorable to the

nonmoving party.” Sinclair Cattle Co. v. Ward, 80 F. Supp. 3d 553, 557-58 (M.D.

Pa. 2015). Therefore, the court must view a contract entered into for work to be

performed in Pennsylvania to involve an “act” proscribed by the FCA in this

judicial district. See Gizinski v. Mission Mobility, LLC, No. 16-cv-589, 2017 WL

1001448, *2 (M.D. Pa. Mar. 15, 2017) (“The defendant has the burden of


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establishing improper venue.”) (citing Myers v. Am. Dental Ass’n, 695 F.2d 716,

725 (3d Cir. 1982)). Accordingly, venue is proper in the Middle District of

Pennsylvania. This conclusion, however, does not end the court’s analysis.

       Despite finding that venue is proper, the court is empowered to transfer

venue in the interest of justice on motion of a party or sua sponte.5 28 U.S.C. §

1404(a); Spence v. Colo. Tech. Univ., 16-cv-1411, 2016 WL 5661932, *2 (M.D.

Pa. Sept. 29, 2016) (internal citations omitted). Pursuant to Section 1404(a):

       For the convenience of parties and witnesses, in the interest of justice,
       a district court may transfer any civil action to any other district or
       division where it might have been brought or to any district or
       division to which all parties have consented.

28 U.S.C. § 1404(a).          The legislative history of the FCA also indicates that

Congress considered the efficacy of Section 1404(a) when amending the venue

provisions of the FCA:

       This expansion of jurisdiction and venue [Section 3732] is made with
       a view to more effective litigation by the Government as well as
       convenience and fairness. It is basically a form of long-arm statute
       with many familiar counterparts in State law. However, the

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  Defendant does not explicitly request that this court transfer venue based on 28 U.S.C. 1404(a).
In arguing that Relator’s complaint should be dismissed for improper venue, Defendant argues,
in the alternative, that venue should be transferred pursuant to 28 U.S.C. § 1406(a), which relates
to transfer of venue in lieu of dismissal where venue is improper. Because this court may sua
sponte transfer venue under Section 1404(a), we need not decide whether Defendant properly
raised that issue. Relator also responded to Defendant’s selection of venue and noted that it
would prefer a transfer to the District of Columbia. (Doc. 19, pp. 10-11 (citing 28 U.S.C.
1404(a) and Jumara v. State Farm Ins. Co., 55 F.3d 873 (3d Cir. 1995).) Moreover, had this
court concluded that venue was improper in the Middle District, the court would have transferred
the matter to the proper venue under Section 1406(a) rather than deprive Relator of his day in
court.
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      Committee is aware of the potential for abuse of this section. Choice
      of venue could turn more upon which court had provided a previous
      favorable decision to the Government than upon other factors of
      convenience or fairness. The Committee will remain sensitive to
      these potential abuses. Of course, a defendant could always move to
      transfer a case where appropriate “in the interest of justice and for the
      convenience of the parties.”
S. REP. NO. 99-345, at 32, as reprinted in 1986 U.S.C.C.A.N. 5266, 5297

(quoting 28 U.S.C. 1404). Thus, this court will analyze whether a transfer of

venue is proper in the interest of justice and for the convenience of the parties.

      A transfer of venue is only proper to a district where the “action could have

been brought.” Intellectual Ventures I LLC v. Checkpoint Software Techs. Ltd.,

797 F. Supp. 2d 472, 478 (D. Del. 2011) (citing 28 U.S.C. § 1404(a)). As set forth

above, because the FCA authorizes nationwide service of process and “acts”

proscribed by the FCA allegedly took place in Virginia and Washington, D.C.,

both the District of Columbia and the Eastern District of Virginia (“EDVA”)

would have personal jurisdiction over Defendant and venue would be proper in

either district. When deciding whether to transfer a case in the interest of justice

pursuant to Section 1404(a), courts apply a multi-factor analysis:

      While there is no definitive list of factors, courts generally consider
      the following: (1) the plaintiff’s choice of forum; (2) the defendant’s
      preference; (3) where the claim arose; (4) the convenience of the
      parties; [5] the convenience of the witnesses, but only to the extent
      that the witnesses may actually be unavailable for trial in one of the
      fora; [6] the location of books and records, similarly limited to the
      extent that the files could not be produced in the alternative forum; [7]
      the enforceability of the judgment; [8] practical considerations that

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     could make the trial easy, expeditious, or inexpensive; [9] the relative
     court congestion in the competing courts; [10] the local interest in
     deciding local controversies at home; [11] the public policies of the
     fora; [12] and the familiarity of the trial judge with the applicable state
     law.
(“Jumara factors”) Clark v. Foley, No. 08-cv-689, 2008 WL 4279886, *4 (M.D.

Pa. 2008) (quoting Jumara, 55 F.3d at 879-80). The court will address the Jumara

factors seriatim.

      Regarding the first factor, Relator has clearly shown a preference for

litigating his claims in the Middle District of Pennsylvania. Usually, plaintiffs are

given great deference when choosing their forum, however, “when the central facts

of a lawsuit occur outside of the chosen forum, plaintiff’s choice of forum is

accorded less weight.”      Frazer v. Temple Univ., No. 13-cv-74, 2013 WL

12152474, *2 (M.D. Pa. 2013) (internal citations omitted).           In its brief in

opposition to Defendant’s motion to dismiss, Relator states that, if this court

decides that a transfer of venue is proper, Relator would prefer the transfer to be

made to the District Court for the District of Columbia. (Doc. 19, p. 10.) Both

parties appear to agree that a substantial number of “acts” giving rise to Relator’s

claims took place in the Washington, D.C. metro area, and, thus, venue would

properly lie in that district. According to Defendant, its “[f]ederal government

contracts alleged in the [a]mended [c]omplaint are with agencies that are all

located in the Washington, D.C. metro area.” (Doc. 18, p. 7.) Although the first

factor weighs against transfer because Relator chose to litigate in this forum,
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Relator’s alternative choice weighs in favor of a transfer to the District of

Columbia.

      Regarding the second factor, Defendant argues that, if venue does not lie in

the Middle District of Pennsylvania, this court should transfer the case to the

EDVA. Attempting to support transfer to the EDVA, Defendant states that its

contracts are with government agencies located in the Washington, D.C. metro

area and Defendant is located in northern Virginia, which lies within the EDVA’s

jurisdiction.   (Id.)   Because Defendant explicitly stated its preference for an

alternative forum, the second Jumara factor weighs in favor of a transfer to the

EDVA.

      The third factor, where the claim arose, is neutral between the District of

Columbia and the EDVA. Defendant is located in northern Virginia. Thus, the

fraudulent employee records were presumably created at, maintained at, and

submitted from that jurisdiction.    The majority, if not all, of the government

entities allegedly defrauded by Defendant, however, are located in Washington,

D.C. The only location in Pennsylvania where the claim arguably “arose” would

be Liberty Township, located in the Middle District of Pennsylvania. On balance,

the third Jumara factor is neutral as between the District of Columbia and the

EDVA, but weighs against venue remaining in the Middle District of

Pennsylvania.


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      The fourth interest factor, the convenience of the parties, supports a transfer

to the District of Columbia.     Because Relator is a resident of Maryland and

Defendant is incorporated in Virginia, the District of Columbia is a physical

midpoint between the two parties. The fifth, sixth, and seventh factors are neutral,

because there is no indication that witnesses or books and records would be legally

unavailable in this District, the EDVA, or the District of Columbia. However, the

eighth factor, relating to the ease of trial, weighs heavily in favor of a transfer to

the District of Columbia. Any records or witnesses from the federal government

would likely be located in Washington, D.C., and Relator and any owners or

employees of Defendant would easily be able to travel to D.C. for trial preparation,

depositions, and attendance at any eventual court proceedings. Thus, the eighth

factor weighs in favor of a transfer of venue.

      The ninth factor, court congestion, is neutral as the court has no evidence of

the EDVA’s or the District of Columbia’s relative congestion. The tenth factor

weighs in favor of transfer to the District of Columbia to the extent that

Washington, D.C. is the seat of the federal government, and the federal agencies

located there have an interest in resolving alleged fraud against them. Conversely,

there is no local interest of Pennsylvania in adjudicating a claim involving federal

agencies where the only contract awarded in Pennsylvania was never

consummated. The eleventh factor is neutral because Relator raises no pendant


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       state law claims. Accordingly, a transfer of Relator’s claims to the District Court

       of the District of Columbia is in the interest of justice and serves the overall

       convenience of the parties and likely potential witnesses.

III.         Conclusion

             For the foregoing reasons, this court has personal jurisdiction over

       Defendant, and venue is proper under the FCA. Thus, Defendant’s motion to

       dismiss is denied. The court, however, finds that the interest of justice and the

       convenience of the parties would be best served by transferring venue to the United

       States District Court for the District of Columbia. Accordingly, this case shall be

       transferred in the interest of justice to the District of Columbia pursuant to 28

       U.S.C. § 1404(a). An appropriate order follows.

                                                         s/Sylvia H. Rambo
                                                         SYLVIA H. RAMBO
                                                         United States District Judge

       Dated: August 29, 2018




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